Case 2:01-cV-02873-.]DB-tmp Document 197 Filed 07/12/05 Page 1 of 2 Page|D 209

Fll.ED B"l' %___ D.C.
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSYE“*- '2 “" 3‘ ‘*"
WESTERN DIVISION wmaan

    

cl£H\<; us c _,zCTDcOURT
'\ "'.'»

1.! 4

  
 

  
   

 

 

DoNALD G. HoLMES, JR., JUDGMENT IN A CIVIL CASE
Plaintiff,

V.

SHELBY COUNTY GOVERNMENT and CASE No: 2:01_2373-1?.

SERGEANT D. TAYLOR, et al.,

Defendants.

 

DECISI()N BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of Dismissal With
Prejudice entered on .Iuly 8, 2005, this cause is hereby dismissed with prejudice.

    

THOMAS M. GO\I.D
Clerk of Court

acl/wa MHM/
(By) Deputy Cler

This document entered on the docket sheetZi-n compiiance
mm me ss and/or 79(5) FHCP on '7 ’ l ’OS

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 197 in
case 2:01-CV-02873 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

EsSEE

 

Donald G. Holmes
3669 Egelsflelds Dr.
Apt. 4

1\/lemphis7 TN 38116

Paul J ames Springer

LAW OFFICE OF PAUL J. SPRINGER
100 N. Main Bldg.

Ste. 301 5

1\/lemphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

